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                    EXHIBIT U
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               David S. Torborg/JonesDay          To ‘Draycott, Justin (CIV) <Justin.Draycottusdoj.gov>
               Extension 4-5562                   cc R. Christopher Cook/JonesDay@JonesDay, James R.
               09/28/2009 06:31 PM                   Daly/JonesDay@JonesDay, egortnerkirkIand.com,
                                                     sreidkeIleydrye.com
                                                 bcc David S. Torborg/JonesDay
                                             Subject Outstanding depositions
    History:             This message has been forwarded.

Justin,

On Friday, we agreed to touch base today to advise of our respective clients’ positions with respect to
outstanding depositions. Abbott agreed to consider your thoughts regarding those depositions where the
Government asserted the deliberative process privilege (DPP). The Government agreed to provide a final
answer on whether it will provide designations and dates for the outstanding 30(b)(6) depositions and the
deposition of Mr. Burney, depositions for which Magistrate Bowler previously denied the Government’s
motions for protective orders.

With respect to the outstanding DPP depositions, you provided your view on how these depositions would
proceed should Abbott reconvene the depositions. In short, your view was that the parties would end up
back before the special master to litigate whether the information sought in defendants’ questioning would
be protected under the qualified DPP. Because the thwarted questioning involves issues that in our view
are important to the litigation, Abbott remains committed to reconvening these depositions. As we
discussed Friday, we believe that it will be much more efficient for the parties, the witnesses, and the
Judge van Gestel to conduct these depositions in the presence of Judge van Gestel (in person or by video
conference/phone). Because both parties anticipate that Judge van Gestel will have to resolve the merit
of the Government’s DPP assertions, we see no reason not to provide him the real-time opportunity to
request information necessary for his rulings, and to make rulings. I intend to call Judge van Gestel’s
case manager tomorrow to schedule a conference call with Judge van Gestel to discuss a suitable
approach. Please advise me if you would like to participate in my call with the case manager.

Thanks,
-Dave


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